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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF KENTUCKY
                       LOUISVILLE DIVISION


Chelsey Nelson Photography LLC,
and Chelsey Nelson,

                    Plaintiffs,
       v.

Louisville/Jefferson County Metro
Government; Louisville Metro                   Case No. 3:19-cv-00851-JRW
Human Relations Commission-
Enforcement; Louisville Metro
Human Relations Commission-
Advocacy; Kendall Boyd, in his               Joint Notice for August 7, 2020 In-
official capacity as Executive Director of            Person Hearing
the Louisville Metro Human Relations
Commission-Enforcement; and Marie
Dever, Kevin Delahanty, Charles
Lanier, Sr., Laila Ramey, William
Sutter, Ibrahim Syed, and Leonard
Thomas, in their official capacities as
members of the Louisville Metro
Human Relations Commission-
Enforcement,

                    Defendants.


      The parties submit the following responses to the Court’s July 24, 2020 Order

(ECF No. 45) regarding the August 7, 2020 hearing:

   1. Does any party object to an in-person hearing?

      Plaintiffs’ Response: No objections.

      Defendants’ Response: No objections.

   2. How many lawyers will appear in person for Nelson and Louisville?

      Plaintiffs’ Response: Three.

      Defendants’ Response: Four.
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   3. Is there anything else the Court needs to know in planning for the hearing?

      Plaintiffs’ Response: Plaintiffs intend to split the arguments on the motions.

Jonathan Scruggs will argue in support of Plaintiffs’ preliminary injunction motion.

Bryan Neihart will argue in opposition to Defendants’ motion to dismiss.

      Defendants’ Response: No additional information.


Respectfully submitted this 31st day of July, 2020.


By: s/ Bryan Neihart                         By: s/ Jason D. Fowler (w/permission)

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                               Certificate of Service

      I hereby certify that on July 31, 2020, I electronically filed the foregoing

document with the Clerk of Court and the foregoing document will be served via the

CM/ECF system on all counsel of record.




                                        By: s/ Bryan Neihart

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